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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 BENOIT BROOKENS,

               Plaintiff,

        v.
                                                       Civil Action No. 17-2206 (RDM)
 AMERICAN FEDERATION OF
 GOVERNMENT EMPLOYEES,

               Defendant.


                                          ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is hereby

ORDERED that Defendant’s motion to dismiss for lack of subject matter jurisdiction, Dkt. 26,

is GRANTED in part and DENIED in part; and it is further

       ORDERED that this case is REMANDED to D.C. Superior Court.

       SO ORDERED.



                                                  /s/ Randolph D. Moss
                                                  RANDOLPH D. MOSS
                                                  United States District Judge

Date: June 5, 2018
